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10

11
                                 UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA

13   JARED STARK, on behalf of himself and all
     others similarly situated,
14                                                           No. 5:20-cv-8309
                                           Plaintiff,
15
            v.                                               CLASS ACTION COMPLAINT
16

17   GOOGLE LLC; GOOGLE IRELAND LTD.;                        JURY TRIAL DEMAND
     GOOGLE COMMERCE LTD.; GOOGLE
18   ASIA PACIFIC PTE. LTD.; AND GOOGLE
     PAYMENT CORP.,
19
                                       Defendants.
20

21          Plaintiff Jared Stark (“Plaintiff”), on behalf of himself and all others similarly situated,
22   brings this Class Action Complaint for damages and injunctive relief against Defendants Google
23   LLC; Google Ireland Ltd.; Google Commerce Ltd.; Google Asia Pacific Pte. Ltd.; and Google
24   Payment Corp. (collectively, “Google”) for violations of Sections 1 and 2 of the Sherman Act, 15
25   U.S.C. §§ 1 and 2, for violations of California’s Cartwright Act, Cal. Bus. & Prof. Code § 16700,
26   et. seq., and for violations of the Kansas Restraint of Trade Act, Kan. Stat. § 50-101, et seq. All
27   allegations other than those concerning the Plaintiff are based on information and belief.


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 1                                              I.       INTRODUCTION

 2              1.      In the United States, nearly 90 percent of a user’s on-screen time on a mobile

 3   device is spent on a mobile application, or “app.” Mobile apps are most often downloaded from

 4   an app store, which centralizes and curates the distribution of mobile apps.

 5              2.      Google owns and operates the largest app store, Google Play. The Google Play

 6   store comes pre-installed on almost all mobile devices running Google’s Android operating

 7   system (“OS”). The Google Play store offers users the choice of more than 2.96 million apps,

 8   and, in 2019, users worldwide downloaded those apps more than 84.3 billion times.

 9              3.      To build this prodigious marketplace, Google represented that the Android OS

10   would be maintained as “open” source software whereby anyone could create Android-

11   compatible products without undue restrictions. But, as the app store grew and as Google’s

12   Android OS became the “must-have” operating software for mobile device original-equipment

13   manufacturers (“OEMs”),1 Google began to close its ecosystem through a series of restrictive

14   agreements that were designed to (and did in fact) deter and eliminate competition in the market

15   for Android mobile apps and in-app products (“the Android Mobile App Distribution Market”).

16              4.      Google’s anticompetitive conduct, described below, allowed it to extract

17   supracompetitive profits from consumers—like Plaintiff and Class Members—who paid Google

18   directly for mobile apps and in-app content purchased through the Google Play store. Indeed, the

19   Google Play store contains more than 90 percent of Android mobile app downloads worldwide.

20   Google charges a 30 percent fee on every mobile app purchased through the Google Play store

21   and on every in-app purchase made through an app downloaded from the Google Play store.

22   These fees helped Google to generate more than $21.5 billion in ill-gotten revenue.

23              5.      Plaintiff and Class Members have also been harmed by Google’s anticompetitive

24   scheme because: (1) developers set higher app prices due to the high costs imposed on

25   developers by Google; and (2) app quality has been reduced as app developers generated lower

26
     1
27       European Commission Press Release, Antitrust: Commission fines Google €4.34 billion for illegal practices (July
         18, 2018), https://ec.europa.eu/commission/presscorner/detail/en/IP_18_4581.

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 1   returns.

 2          6.       Plaintiff seeks to recover the damages caused by Google’s unlawful

 3   anticompetitive conduct and to obtain an order enjoining Google from continuing to engage in

 4   these unlawful practices.

 5                                 II.    JURISDICTION AND VENUE
 6          7.       This Court has personal jurisdiction over the Defendants. Google LLC and

 7   Google Payment Corp. are headquartered in this District. All Defendants have engaged in

 8   sufficient minimum contacts with the United States and have purposefully availed themselves of

 9   the benefits and protections of United States and California law, such that the exercise of

10   jurisdiction over them would comport with due process requirements. Further, the Defendants

11   have consented to the exercise of personal jurisdiction by this Court.

12          8.       This Court has subject-matter jurisdiction over Plaintiff’s federal antitrust claims

13   pursuant to the Clayton Act § 16, 15 U.S.C. § 26, and 28 U.S.C. §§ 1331 and 1337. The Court

14   has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

15          9.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Google

16   LLC and Google Payment Corp. maintain their principal places of business in the State of

17   California and in this District, because a substantial part of the events or omissions giving rise to

18   Plaintiff’s claims occurred in this District, and because, pursuant to 28 U.S.C. § 1391(c)(3), any

19   Defendants not resident in the United States may be sued in any judicial district and their joinder

20   with others shall be disregarded in determining proper venue. In the alternative, personal

21   jurisdiction and venue also may be deemed proper under Section 12 of the Clayton Antitrust Act,

22   15 U.S.C. § 22, because Defendants may be found in or transact business in this District and a

23   substantial portion of the affected interstate trade and commerce was carried out in this district.

24                               III.    INTRADISTRICT ASSIGNMENT
25          10.      Assignment of this case to the San Jose Division is proper pursuant to Civil Local

26   Rule 3-2(c)(e) because a substantial part of the events or omissions giving rise to Plaintiff’s

27   claims occurred in Santa Clara County, California.


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 1                                              IV.    PARTIES

 2           11.      Plaintiff Jared Stark is a natural person who resides in Leavenworth, Kansas.

 3   Plaintiff purchased and paid Google for one or more apps through the Google Play store and

 4   purchased and paid Google directly for in-app digital content through an app downloaded from

 5   the Google Play store within the last four years.

 6           12.      Defendant Google LLC is a Delaware limited liability company with its principal

 7   place of business at 1600 Amphitheatre Way, Mountain View, California. Google LLC is a

 8   technology company that provides internet-related services and products. Since 2005, Google

 9   has owned and developed the Android OS for use in Android licensed mobile devices. Google

10   LLC is also the owner of the Google Play store through which developers of Android mobile

11   apps sell their mobile app and in-app products to Android-operated mobile device users. Google

12   LLC contracts with all app developers that distribute their apps through the Google Play store

13   and is therefore a party to the anticompetitive contractual restrictions at issue in this suit.

14           13.      Defendant Google Ireland Limited (“Google Ireland”) is a limited company

15   organized under the laws of Ireland with its principal place of business in Dublin, Ireland, and is

16   a subsidiary of Google LLC. Google Ireland contracts with all app developers that distribute

17   their apps through the Google Play store and is therefore a party to the anticompetitive

18   contractual restrictions at issue in this suit.

19           14.      Defendant Google Commerce Limited (“Google Commerce”) is a limited

20   company organized under the laws of Ireland with its principal place of business in Dublin,

21   Ireland, and is a subsidiary of Google LLC. Google Commerce contracts with all app developers

22   that distribute their apps through the Google Play store and is therefore a party to the

23   anticompetitive contractual restrictions at issue in this suit.

24           15.      Defendant Google Asia Pacific Pte. Limited (“Google Asia Pacific”) is a private

25   limited company organized under the laws of Singapore with its principal place of business in

26   Mapletree Business City, Singapore, and is a subsidiary of Google LLC. Google Asia Pacific

27   contracts with all app developers that distribute their apps through the Google Play store and is


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 1   therefore a party to the anticompetitive contractual restrictions at issue in this suit.

 2           16.      Defendant Google Payment Corp. (“Google Payment”) is a Delaware corporation

 3   with its principal place of business in Mountain View, California, and is a subsidiary of Google

 4   LLC. Google Payment provides in-app payment processing services to Android app developers

 5   and Android users and collects a 30% commission on many types of processed payments,

 6   including payments for apps sold through the Google Play store and in-app purchases made

 7   within such apps.

 8                                  V.      FACTUAL ALLEGATIONS
 9
     GOOGLE MAINTAINS AN UNLAWFUL MONOPOLY IN THE ANDROID MOBILE
10   APP DISTRIBUTION MARKET
11   A.      The Android Mobile App Distribution Market is a Relevant Product Market
12           17.      A mobile app is a standardized piece of software that is optimized for use on a

13   mobile device. In some mobile apps, users are charged money for access to digital content or

14   services, to share content, to play games, or to make transactions for physical or digital goods

15   and services (an “in-app purchase”).

16           18.      Mobile apps may be pre-installed on a mobile device as a component of the OS

17   by the OEM. Users can also transfer apps from another device through a process Google refers to

18   as “sideloading.” But the predominant way—by far—that consumers access mobile apps is

19   through an app store, which itself may be pre-installed on the mobile device.

20           19.      Through an app store, a user may search, browse, find, review, compare, buy,

21   download, and remove a mobile app without having to use a separate device, making it critical to

22   a mobile device user’s experience. The app store may also offer mobile app developers’ tools

23   and services that support the building of mobile apps for that app store.

24           20.      The rules governing an app store are typically set forth by the app store

25   proprietor—here, Google—and concern things like the types of mobile apps permitted in the app

26   store; the absence of malware; how users pay for mobile apps; and how revenue is distributed

27   between the mobile app developer and the app store.


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 1           21.      Because mobile apps are built in a specific programming language and configured

 2   to run on a specific type of mobile device OS as “native apps,” distinct and separate product

 3   markets exist for mobile apps specific to the relevant OSs. For example, native apps developed

 4   for Apple iOS only work on Apple mobile devices and native apps developed for Android OS

 5   only work on Android mobile devices. Apple’s App Store and the Google Play store do not

 6   compete against one another because Android users cannot utilize iOS apps or the Apple App

 7   Store, and iOS users cannot utilize Android apps or the Google Play store. Consequently,

 8   Google’s dominance of the Android Mobile App Distribution Market is not constrained by

 9   Apple’s App Store and vice versa.2

10           22.      Similarly, web sites and web apps are not competitively significant alternatives to

11   the Android Mobile App Distribution Market. Mobile apps provide a deeper, richer user

12   experience as compared to websites and web apps. For example, mobile apps can provide

13   additional, unique functionalities by accessing specific features within the mobile device’s

14   hardware and operating system, such as a camera or location services. Moreover, websites and

15   web apps rely on an internet connection, whereas mobile apps may continue to function even

16   when the mobile device loses internet access. Because of these intrinsic benefits, users

17   overwhelmingly choose to access content and services on their mobile devices through mobile

18   apps—including for basic communication, business transactions, entertainment, and news—even

19   though mobile devices users could access that content on their mobile devices via the internet. In

20   the United States, nearly 90 percent of user screen time on mobile devices is spent on mobile

21   apps.

22           23.      The Android Mobile App Distribution Market is therefore a relevant market that

23   is comprised of all the channels by which mobile apps are distributed to Android OS users.

24

25
     2
       See, e.g., Google Android, No. AT.40099, European Commission Decision (July 18, 2018)
26   (“EC Google Android Decision”) at ¶¶ 590673, 763,
27   https://ec.europa.eu/competition/antitrust/cases/dec_docs/40099/40099_9993_3.pdf.


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 1   B.      The United States is the Relevant Geographic Market

 2           24.      The relevant geographic market for the Android Mobile App Distribution Market

 3   is the United States. App stores (and other app distribution channels) are broadly developed and

 4   distributed throughout the United States, as are the mobile apps contained within the app stores.

 5   Indeed, the Google Play store—and the apps downloaded through it—are available to Android

 6   users anywhere in the United States.

 7   C.      Google has Monopoly Power in the Android Mobile App Distribution Market
 8           25.      More than 90 percent of all app store downloads in the Android Mobile App

 9   Distribution Market are made through the Google Play store.

10           26.      Google has designed the Android ecosystem to discourage others from making

11   available and users from downloading apps from sources other than Google Play. Google, as the

12   proprietor of the Google Play store, has exercised its monopoly power by refusing to allow any

13   rival app stores to be downloaded through the Google Play store. Accordingly, there are only two

14   ways by which an Android phone user may access rival mobile app stores: an (1) app store may

15   be pre-installed on the mobile device; or (2) a mobile app store may be sideloaded onto the

16   mobile device.3 Google has thwarted meaningful user access for each.

17           27.      First, Google has successfully demanded and reached agreements with Android

18   mobile device OEMs to require OEMs to pre-install and prominently display the Google Play

19   store on the mobile devices they manufacture. Pre-installation is crucial because, as Google

20   explains, “most users just use what comes on the device. People rarely change defaults.”4

21           28.      Second, although users can theoretically sideload a third-party app store, Google

22   has created guardrails designed to steer consumers away from sideloading. In order to sideload

23   an app store, a user must go through a complicated multi-step process to download the app store

24   to another device, load it onto the mobile device, and bypass multiple security and safety

25   warnings set up by Google that suggest sideloading is unsafe.

26   3
       Theoretically, a user could use an app store like Google Play to download a rival app store. But Google has banned
27     rival app stores from Google Play.
     4
       EC Google Android Decision at ¶ 787(2).


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 1          29.      The difficulty of sideloading any app or app store was described by Epic, the

 2   maker of the popular mobile game Fortnight, in a recent lawsuit it filed against Google:

 3          Google ensures that the Android process is technically complex, confusing and
            threatening, filled with dire warnings that scare most consumers into abandoning
 4          the lengthy process. For example, depending on the version of Android running
            on a mobile device, downloading and installing Fortnite on an Android device
 5          could take as many as 16 steps or more, including requiring the user to make
            changes to the device’s default settings and manually granting various
 6          permissions while being warned that doing so is dangerous.
 7          30.      Even where a user persists and successfully loads a rival app store, Google

 8   discourages continued use of that app store by limiting some basic app functions that are

 9   available to apps downloaded through Google Play. For instance, apps downloaded through

10   Google Play will automatically update in the mobile device’s background. In contrast, updating

11   an app through, for example, Amazon’s Android app store requires a user to manually update

12   each app through a multi-step process. By making the app update process difficult, Google

13   further discourages users from seeking out rival app stores and the apps offered therein.

14          31.      By impeding (or interfering with) user access to third-party app stores, Google

15   was able to extract supracompetitive prices for its Android app distribution services and for

16   processing in-app purchases on apps downloaded through the Google Play store. Google has

17   charged a 30 percent fee on sales of paid apps and a 30 percent fee for in-app purchases. Google

18   collects and processes these fees directly from Plaintiff and Class Members, remitting the

19   remainder of their payments to the mobile app developer. These fees generated more than $21.5

20   billion in global revenue for Google in 2018. If Google had operated the Google Play store in a

21   competitive market, free of Google’s anticompetitive restraints, then the fees that Google could

22   have collected from Plaintiff and Class Members would be significantly lower. Indeed, the fees

23   charged by alternative electronic payment processing tools—like PayPal and Square—are 2.9

24   percent and between 2.6 and 3.5 percent, respectively.

25          32.      Google has abused and maintained its monopoly power in the Android Mobile

26   App Distribution Market through restrictive, non-negotiable agreements with mobile app

27   developers, who must choose between complying with Google’s draconian terms of use or


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 1   exiting Google’s ecosystem. To have a mobile app listed on the Google Play store, mobile app

 2   developers must agree and have agreed with Google to not license their mobile app to any rival

 3   app stores. Indeed, Google’s developer agreements mandate that developers may not “make

 4   available any product that has a purpose that facilitates the distribution of software applications

 5   and games for use on Android devices outside of Google Play.” This has enabled Google to

 6   secure the most desired and highest quality mobile apps while simultaneously foreclosing access

 7   to mobile apps by rival app stores. Mobile app developers must acquiesce to Google’s demand

 8   because more than 90 percent of all Android mobile app downloads occur through Google Play.

 9             33.      There are significant barriers to users switching mobile OSs.5 In 2018, Consumer

10   Intelligence Research Partners reported that more than 90 percent of Android users who bought a

11   new mobile device purchased a new Android mobile device.

12             34.      Part of a user’s lack of interest in switching is due to network effects. Google

13   Android and Apple iOS have different operating concepts, user interface designs, and setting and

14   configuration options. Users tend to pick one, learn it, invest in mobile apps and storage, and

15   stick with it. Switching operating systems may entail the loss of compatibility with other smart

16   devices designed to work in conjunction with the mobile device and its OS and the hassle of

17   porting data from one OS to another. While mobile devices have a limited lifespan, and users

18   might be expected to “break the lock-in cycle” when it is time to upgrade to a new device, users’

19   reliance on software, data, and files, and other hardware and accessories that are only compatible

20   with one product ecosystem, make it unlikely that they would switch to a non-compatible mobile

21   device.

22             35.      Based on the foregoing, there is abundant evidence that Google has monopoly

23   power in the Android Mobile App Distribution Market.

24
     D.        Google has Engaged in Anticompetitive Conduct in the Android Mobile App
25             Distribution Market Resulting in Anticompetitive Effects

26             36.      Google has implemented a multi-prong anticompetitive scheme to establish and

27   5
         EC Google Android Decision at ¶¶ 590673, 763.


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 1   maintain its monopoly in the Android Mobile App Distribution Market and foreclose rival app

 2   store distribution channels. As a direct result of Google’s anticompetitive scheme, it has charged

 3   supracompetitive prices for mobile app and in-app purchases.

 4   E.     Google’s Anticompetitive Restraints on OEMs
 5          37.         Google has imposed and OEMs have agreed to anticompetitive covenants in

 6   Google’s Mobile Application Distribution Agreement (“MADA”). This agreement, among other

 7   things, has required OEMs to:

 8               License the entire suite of Google applications and services (such as Google Play

 9                Services, Google Chrome, Gmail, Google Search, Google Maps, and YouTube) as a

10                condition for licensing the Android OS;

11               Pre-install the Google Play store, as well as up to 30 other proprietary Google apps;

12                and

13               Place the Google Play store on or near the main “home screen page” in its default

14                configuration.

15          38.         OEMs must agree and have agreed to Google’s anticompetitive, restrictive terms

16   and conditions; if they do not agree, they risk losing access to the Android OS. For example, in

17   2012 Acer partnered with Alibaba to release products on Alibaba’s OS, Aliyun. When Google

18   learned of this, it threatened to terminate its partnership with Acer. Acer subsequently abandoned

19   its deal with Alibaba.

20          39.         The restrictive MADA terms and conditions substantially limit the ability of rival

21   app stores to meaningfully compete against Google in the Android Mobile App Distribution

22   Market. By requiring pre-installation and prominent display of the Google Play store, Google

23   ensures that competing app stores are at a significant disadvantage the moment the user takes a

24   mobile device out of the box. Google has acknowledged the competitive significance of pre-

25   installation, noting that “[p]reloading remains valuable to users, and hence device manufacturers,

26   despite full unbundling because most users just use what comes on the device. People rarely

27


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 1   change defaults.”6

 2             40.      For example, Epic, which makes the popular game Fortnight, tried to partner with

 3   LG, an Android-licensed OEM, to ease the restrictions by which users could download and play

 4   its game. But LG ultimately refused, informing Epic that its contract with Google required LG

 5   “to block side downloading off Google Play Store this year.” (emphasis added).

 6             41.      Google’s restrictive MADA agreements have therefore foreclosed meaningful

 7   competition in the Android Mobile App Distribution Market, allowing Google to charge

 8   supracompetitive prices for mobile app and in-app purchases. The anticompetitive MADA

 9   agreements have also harmed Plaintiff and Class Members by limiting consumer choice. Absent

10   Google’s unlawful restraints of trade, OEMs would be free to negotiate with third-party app

11   stores for prominent placement on the OEMs’ mobile device home screens. Third-party app

12   stores could then attract prominent app developers to their store. Plaintiff and Class Members

13   would benefit from such competition through added choices and lowered costs for mobile apps

14   and in-app purchases.

15   F.        Google has Imposed Anticompetitive Restraints on Mobile-App Developers
16             42.      Google has imposed anticompetitive contractual restrictions on app developers

17   through its Google Play Developer Distribution Agreement (“DDA”). Each of the Defendants,

18   except Google Payment, is a party to the DDA. Google imposes the anticompetitive contractual

19   restrictions in the DDA to foreclose meaningful competition in the Android Mobile App

20   Distribution Market, thereby ensuring rival app stores lack access to high-quality, in-demand

21   mobile apps. Indeed, Google has refused to negotiate any provision of the DDA and has required

22   all mobile-app developers to sign the DDA before Google will list their mobile app on the

23   Google Play store.

24             43.      The restrictive provisions in the DDA include:

25                  Section 3.2 requires that mobile device app developers enter into a separate

26                   agreement with Google’s payment processor, Google Payment, to receive payment

27   6
         EC Google Android Decision at ¶ 787(2).


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 1                for and from apps and in-app digital content;

 2               Section 4.1 mandates compliance with Google’s Developer Program Policies. These

 3                Policies require, among other things, that mobile device app developers use Google’s

 4                proprietary in-app billing for in-app game payments, as well as certain other digital

 5                in-app purchases;

 6               Section 4.5 mandates that developers “may not use Google Play to distribute or make

 7                available any Product that has a purpose that facilitates the distribution of software

 8                applications and games for use on Android devices outside of Google Play”; and

 9               Section 8.3 broadly grants Google the right to remove any Android app it believes has

10                violated any portion of the DDA.

11          44.      Mobile-app developers seeking access to Android users through the Google Play

12   store have had no choice but to accept Google’s demands or suffer precipitous declines in

13   downloads and revenue due to a lack of access to users. Indeed, removal from Google Play could

14   mean that basic functions, such as automatic updating of apps in the background, which is

15   available for apps downloaded from the Google Play store, may be disrupted. Meanwhile,

16   updating an app downloaded through a rival app store requires users to follow a multi-step,

17   manual process each time an update is made available. The DDA thus enables Google to secure

18   the most desired and highest quality mobile apps for itself while simultaneously foreclosing

19   access to rival app stores.

20          45.      As the sole proprietor of the Google Play store, Google has exercised its

21   gatekeeping power to constrain competition and foreclose rival access. Numerous market

22   participants have complained to congressional staffers that Google uses arbitrary rule violations

23   of various Google Play policies as a pretext for retaliatory conduct and to foreclose competition.

24          46.      In the absence of these unlawful restraints, Google would not be able to impose

25   supracompetitive fees that drive developers to charge and users to pay higher prices for mobile

26   apps and in-app purchases.

27


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 1                                      VI.     ANTITRUST INJURY

 2           47.      Plaintiff and Class Members have suffered antitrust injury as a direct result of

 3   Google’s unlawful conduct.

 4           48.      Plaintiff and Class Members have purchased Android mobile apps and in-app

 5   digital content directly from Google through the Google Play store.

 6           49.      As described above, Google’s restrictive contracts and anticompetitive practices

 7   have foreclosed competition in the Android Mobile App Distribution Market and enabled Google

 8   to charge Plaintiff and Class Members supracompetitive fees for mobile app and in-app

 9   purchases.

10                               VII.    CLASS ACTION ALLEGATIONS
11           50.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings this

12   action on behalf of himself and on behalf of the following class (the “Class”):

13           All persons in the United States who, within the relevant statute of limitations (the
             “Class Period”): (1) paid for a mobile app on the Google Play store; (2) paid
14           subscription fees for a mobile app obtained on the Google Play store; or (3)
             purchased in-app digital content from a mobile app that was downloaded through
15           the Google Play store.
16           51.      Excluded from the Class are the Court, Defendants and their parent, subsidiary,

17   and affiliated entities, and their officers, directors, employees, affiliates, legal representatives,

18   predecessors, successors, and assigns.

19           52.      Class Members are so numerous that joinder of all members is impracticable. Due

20   to the nature of the trade and commerce involved, there are, perhaps, tens of millions of

21   geographically dispersed Class Members, the exact number and identities of whom are known

22   exclusively to Defendants.

23           53.      Common questions of law and fact exist as to all Class Members and predominate

24   over any questions affecting solely individual members of the Class. The questions of law and

25   fact common to the Class include:

26           A. Whether Google has monopoly power in the Android Mobile App Distribution

27                 Market;


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 1          B. Whether Google’s contractual restrictions with OEMs furthered Google’s

 2                monopolization of the Android Mobile App Distribution Market;

 3          C. Whether Google’s contractual restrictions with mobile app developers furthered

 4                Google’s monopolization of the Android Mobile App Distribution Market;

 5          D. Whether Google’s conduct resulted in supracompetitive prices for Android mobile

 6                apps;

 7          E. Whether Google’s conduct resulted in supracompetitive prices for in-app digital

 8                content purchases;

 9          F. Whether Google’s conduct has been detrimental to Plaintiff and Class Members; and

10          G. The appropriate Class-wide measure of damages.

11          54.      Plaintiff’s claims are typical of the claims of the Class, as all Class Members were

12   similarly affected by Google’s common course of wrongful conduct in violation of federal and

13   state law, as complained of herein. Moreover, the damages and injuries of Plaintiff and Class

14   Members were directly caused by Google’s wrongful conduct.

15          55.      Plaintiff will fairly and adequately protect the interests of the Class and has

16   retained counsel that is competent and experienced in class-action litigation. Plaintiff has no

17   interests that conflict with (or is otherwise antagonistic to) the interests of other Class Members.

18          56.      A class action is superior to all other available methods for the fair and efficient

19   adjudication of this controversy since joinder of all members is impracticable. Further, as the

20   damages suffered by individual Class Members may be relatively small, the expense and burden

21   of individual litigation make it impossible for members of the Class to individually redress the

22   wrongs done to them. There will be no difficulty in management of this action as a class action.

23                                   VIII. CLAIMS
24                         UNLAWFUL MONOPOLY OF THE ANDROID MOBILE APP
                  DISTRIBUTION MARKET IN VIOLATION OF SHERMAN ACT § 2
25          57.      Plaintiff hereby incorporates all other paragraphs as if fully stated here.
26          58.      Google’s conduct has violated Section 2 of the Sherman Act, which prohibits the
27   “monopoliz[ation of] any part of the trade or commerce among the several States, or with foreign


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 1   nations.” 15 U.S.C. § 2.

 2          59.     The Android Mobile App Distribution Market in the United States is a valid

 3   antitrust market.

 4          60.     Google has and continues to hold monopoly power in the Android Mobile App

 5   Distribution Market.

 6          61.     Google has unlawfully acquired and maintained monopoly power in the Android

 7   Mobile App Distribution Market through the anticompetitive acts described in this Complaint,

 8   including, but not limited to: (1) leveraging its Android OS and Google suite of products to

 9   impose anticompetitive contractual restrictions in its agreements with OEMs; (2) requiring

10   OEMs to pre-install and prominently display the Google Play store on the “home screen” of each

11   mobile device; (3) requiring app developers to sign the Google Play DDA before any app is

12   made available for download on the Google Play store, which DDA has mandated that app

13   developers (a) “may not use Google Play to distribute or make available any Product that has a

14   purpose that facilitates the distribution of software applications and games for use on Android

15   devices outside of Google Play” and (b) must use Google’s proprietary in-app billing for certain

16   in-app purchases; and (4) blocking mobile apps offered outside the Google Play store from

17   providing important functions, including automatic updating while an app is in the background,

18   which is available for apps downloaded through Google Play.

19          62.     Google’s conduct has had no legitimate pro-competitive justification considering

20   its anticompetitive effects, and therefore it has unreasonably restrained competition in the

21   Android Mobile App Distribution Market.

22          63.     Google’s conduct has affected a substantial volume of interstate commerce.

23          64.     Google’s conduct has had substantial anticompetitive effects, including increased

24   prices and costs for mobile apps and in-app products charged to Plaintiff and Class Members.

25          65.     Plaintiff and Class Members have been injured and damaged by Google’s

26   anticompetitive conduct as Plaintiff and Class Members have been forced to pay

27   supracompetitive prices for mobile app and in-app purchases.


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 1          66.     Plaintiff and Class Members have been further deprived of the ability to choose

 2   between mobile apps and in-app products on the Google Play store or lower-cost, third-party app

 3   stores that would have been available had Google not engaged in the misconduct alleged here.

 4          67.     Plaintiff and Class Members have suffered and continue to suffer damages and

 5   irreparable injury. Such damages and irreparable injury will not cease until and unless this Court

 6   issues an injunction terminating Google’s anticompetitive conduct.

 7                   UNLAWFUL RESTRAINTS OF TRADE CONCERNING THE
      ANDROID MOBILE APP DISTRIBUTION MARKET IN VIOLATION OF SHERMAN
 8                                ACT § 1
 9          68.     Plaintiff hereby incorporates all other paragraphs as if fully stated here.

10          69.     Google’s conduct has violated Section 1 of the Sherman Act, which prohibits

11   “[e]very contract, combination in the form of trust or otherwise, or conspiracy, in restraint of

12   trade or commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.

13          70.     The Android Mobile App Distribution Market in the United States is a valid

14   antitrust market.

15          71.     As alleged herein, Google entered into anticompetitive agreements with third

16   parties that have unreasonably restricted competition in the Android Mobile App Distribution

17   Market.

18          72.     These agreements include the MADA agreements Google entered into with

19   OEMs that condition access to Android OS on: (1) licensing the entire suite of Google

20   applications and services (such as Google Play Services, Google Chrome, Gmail, Google Search,

21   Google Maps, and YouTube); (2) pre-installing the Google Play store, as well as up to 30 other

22   proprietary Google apps; and (3) prominently displaying the Google Play store on or near the

23   main “home screen page” as the default configuration.

24          73.     These agreements also include the DDA agreements Google entered with mobile-

25   app developers that, as a condition of having their app listed on the Google Play store, required

26   mobile-app developers to: (1) “not use Google Play to distribute or make available any Product

27   that has a purpose that facilitates the distribution of software applications and games for use on


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 1   Android devices outside of Google Play”; and (2) use Google’s proprietary in-app billing for

 2   certain in-app purchases.

 3          74.      These agreements have had no legitimate pro-competitive justification

 4   considering their anticompetitive effects and have therefore unreasonably restrained competition

 5   in the Android Mobile App Distribution Market.

 6          75.      Google’s conduct has affected a substantial volume of interstate commerce.

 7          76.      Google’s conduct has had substantial anticompetitive effects, including increased

 8   prices and costs for mobile apps and in-app products charged to Plaintiff and Class Members.

 9          77.      Plaintiff and Class Members have been injured and damaged by Google’s

10   anticompetitive conduct as Plaintiff and Class Members have been forced to pay

11   supracompetitive prices for mobile app and in-app purchases.

12          78.      Plaintiff and Class Members have been further deprived of the ability to choose

13   between mobile apps and in-app products on the Google Play store or lower-cost, third-party app

14   stores that would have been available had Google not engaged in the misconduct alleged here.

15          79.      Plaintiff and Class Members have suffered and continue to suffer damages and

16   irreparable injury. Such damages and irreparable injury will not cease until and unless this Court

17   issues an injunction terminating Google’s anticompetitive conduct.

18                    UNREASONABLE RESTRAINT OF TRADE IN THE ANDROID
       MOBILE APP DISTRIBUTION MARKET IN VIOLATION OF THE CALIFORNIA
19                            CARTWRIGHT ACT
20          80.      Plaintiff hereby incorporates all other paragraphs as if fully stated here.

21          81.      Google’s acts and practices detailed above have violated the Cartwright Act, Cal.

22   Bus. & Prof. Code § 16700 et seq., which prohibits, inter alia, the combination of resources by

23   two or more persons to restrain trade or commerce or to prevent market competition. See §§

24   16720, 16726.

25          82.      Under the Cartwright Act, a “combination” is formed when the anticompetitive

26   conduct of a single firm coerces other market participants to involuntarily adhere to the

27   anticompetitive scheme.


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 1          83.     The Android Mobile App Distribution Market is a valid antitrust market.

 2          84.     As alleged herein, Google has entered into agreements with third parties that have

 3   unreasonably restricted competition in the Android Mobile App Distribution Market.

 4          85.     These agreements include the MADA agreements Google entered into with

 5   OEMs that condition access to Android OS on: (1) licensing the entire suite of Google

 6   applications and services (such as Google Play Services, Google Chrome, Gmail, Google Search,

 7   Google Maps, and YouTube); (2) pre-installing the Google Play Store, as well as up to 30 other

 8   proprietary Google apps; and (3) prominently displaying the Google Play Store on or near the

 9   main “home screen page” as the default configuration.

10          86.     These agreements also include the DDA agreements Google entered with mobile

11   app developers that, as a condition of having their app listed on the Google Play store, required

12   mobile app developers to: (1) “not use Google Play to distribute or make available any Product

13   that has a purpose that facilitates the distribution of software applications and games for use on

14   Android devices outside of Google Play”; and (2) use Google’s proprietary in-app billing for

15   certain in-app purchases.

16          87.      Google’s conduct has had substantial anticompetitive effects, including increased

17   prices and costs for mobile apps and in-app products charged to Plaintiff and Class Members.

18          88.     Plaintiff and Class Members have been injured and damaged by Google’s

19   anticompetitive conduct as Plaintiff and Class Members have been forced to pay

20   supracompetitive prices for mobile app and in-app purchases.

21          89.     Plaintiff and Class Members have been further deprived of the ability to choose

22   between mobile apps and in-app products on the Google Play Store or lower-cost, third-party app

23   stores that would have been available had Google not engaged in the misconduct alleged here.

24          90.     It is appropriate to bring this action under the Cartwright Act because many of the

25   illegal agreements were made in California and purport to be governed by California law, many

26   affected consumers reside in California, Google has its principal place of business in California,

27   and overt acts in furtherance of Google’s anticompetitive scheme took place in California.


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 1          91.     Plaintiff and Class Members have suffered and continue to suffer damages and

 2   irreparable injury. Such damages and irreparable injury will not cease until and unless this Court

 3   issues an injunction terminating Google’s anticompetitive conduct.

 4                                          KANSAS RESTRAINT OF TRADE ACT
 5          92.     Plaintiff hereby incorporates all other paragraphs as if fully stated here.

 6          93.     Google’s acts and practices detailed above violate the Kansas Restraint of Trade

 7   Act, Kan. Stat. § 50-101, et seq., which prohibits, inter alia, combinations to create or carry out

 8   restrictions in trade or commerce, increase the price of merchandise, or prevent competition in

 9   the sale of merchandise, id.

10          94.     Google’s conduct and practices have substantial anticompetitive effects in

11   Kansas, including increased prices and costs, reduced innovation, poorer customer service, and

12   lowered output.

13          95.     Plaintiff and Class Members have been harmed by Defendants’ anticompetitive

14   conduct in a manner that the Kansas Restraint of Trade Act was intended to prevent. For

15   example, Plaintiff and Class Members paid more for Android apps and/or in-app purchases than

16   they would have paid in a competitive market. Plaintiff and Class Members have also been

17   injured because Google’s unlawful monopolization of the Android Mobile App Distribution

18   Market has extinguished their freedom to choose between the Google Play store and lower cost

19   market alternatives that would have been available had Google not monopolized the market.

20   Plaintiff and Class Members have also been injured because Google’s establishment and

21   maintenance of monopoly pricing has caused a reduction in the output and supply of Android

22   apps and in-app purchases, which would have been more abundantly available in a competitive

23   market. Plaintiff and Class Members have suffered and continue to suffer damages and

24   irreparable injury, and such damages and injury will not abate until an injunction ending

25   Google’s anticompetitive conduct issues.

26                                    IX.    PRAYER FOR RELIEF
27          WHEREFORE, Plaintiff respectfully requests that this Court:


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 1         A. Permanently enjoin Defendants from monopolizing the Android Mobile App

 2             Distribution Market;

 3         B. Permanently enjoin Defendants from engaging in anticompetitive conduct in

 4             connection with its agreements with OEMs and app developers;

 5         C. Award Plaintiff and Class Members treble damages for injuries caused by

 6             Defendants’ unlawful conduct in violation of federal and state antitrust laws;

 7         D. Award Plaintiff and the Class their reasonable attorneys’ fees and costs; and

 8         E. Grant Plaintiff such further relief as the Court deems appropriate.

 9
                                    X.      JURY TRIAL DEMAND
10
           Plaintiff demands a trial by jury of all issues so triable.
11

12
            DATED this 24th day of November, 2020.
13
     StandardSig                                    KELLER ROHRBACK L.L.P.
14

15
                                                    By /s/ Alison Chase
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26

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